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           Clare                    Gladwin
                                                32nd State Senate District
                                                2001 Redistricting Plan
                                                          Buena Vista Charter Township
                                                          highlighted in Saginaw County
                                                              Bay

                                    Midland
          Isabella




                                                                                                         ¹
                                                                                                    Tuscola




                                                              Saginaw

                       Gratiot
Montcalm




                                                                                       Genesee


                                                    Shiawassee
  Ionia                Clinton




                                                                                                     Oakland

                                       Ingham                           Livingston
            Eaton


                                                          0    3    6       12          18           24
                                                                                                       Miles
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           Clare                    Gladwin
                                                32nd State Senate District
                                                2011 Redistricting Plan
                                                          Buena Vista Charter Township
                                                          highlighted in Saginaw County
                                                              Bay

                                    Midland
          Isabella




                                                                                                         ¹
                                                                                                    Tuscola




                                                              Saginaw

                       Gratiot
Montcalm




                                                                                       Genesee


                                                    Shiawassee
  Ionia                Clinton




                                                                                                     Oakland

                                       Ingham                           Livingston
            Eaton


                                                          0    3    6       12          18           24
                                                                                                       Miles
              Case 1:11-cv-01938-RJL-BMK-CKK Document 7-1 Filed 12/02/11 PageRevised
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  Williams Township                   Monitor Township            95th State House District
                                                                  2001 Redistricting Plan
                                              Bay County                         Buena Vista   Charter Township
                                                                                            Portsmouth Township
                                                                                 highlighted in Saginaw County
                                       Frankenlust Township




Tittabawassee Township
                                                                                                                         Merritt Township


                                  Kochville Township
                                                                         Zilwaukee Township
                                                                                                                                  ¹
                                                                City of Zilwaukee




                                                           Carrollton Township

                                                                                          Buena Vista Township
                         Saginaw Township

                                                                                                                       Blumfield Township


   Thomas Township
                                                       City of Saginaw



                                                   Saginaw County




       James Township
                                                                                                                 Frankenmuth Township
                                                                                      Bridgeport Township
Swan Creek Township
                                   Spaulding Township




                                      Albee Township                                    Taymouth Township             Birch Run Township
  St Charles Township
                                                                               0 0.5 1         2       3         4
                                                                                                                     Miles
              Case 1:11-cv-01938-RJL-BMK-CKK Document 7-1 Filed 12/02/11 PageRevised
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  Williams Township                   Monitor Township            95th State House District
                                                                  2011 Redistricting Plan
                                              Bay County                         Buena Vista   Charter Township
                                                                                            Portsmouth Township
                                                                                 highlighted in Saginaw County
                                       Frankenlust Township




Tittabawassee Township
                                                                                                                         Merritt Township


                                  Kochville Township
                                                                         Zilwaukee Township
                                                                                                                                  ¹
                                                                City of Zilwaukee




                                                           Carrollton Township

                                                                                          Buena Vista Township
                         Saginaw Township

                                                                                                                       Blumfield Township


   Thomas Township
                                                       City of Saginaw



                                                   Saginaw County




       James Township
                                                                                                                 Frankenmuth Township
                                                                                      Bridgeport Township
Swan Creek Township
                                   Spaulding Township




                                      Albee Township                                    Taymouth Township             Birch Run Township
  St Charles Township
                                                                               0 0.5 1         2       3         4
                                                                                                                     Miles
          Case 1:11-cv-01938-RJL-BMK-CKK Document 7-1 Filed 12/02/11 PageRevised
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                         Newaygo                24th State Senate District
          Muskegon                              2001 Redistricting Plan
                                                              Clyde Township highlighted
                                                                  in Allegan County



                                      Kent




                                                                                                        ¹
               Ottawa                                            Ionia                     Clinton




                                                  Barry                         Eaton               Ingham
                     Allegan




             Van Buren              Kalamazoo                         Calhoun                   Jackson




Berrien


                Cass                 St. Joseph                      Branch
                                                                                            Hillsdale




                                                          0    4.5     9        18         27           36
                                                                                                          Miles
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                         Newaygo                26th State Senate District
          Muskegon                              2011 Redistricting Plan
                                                              Clyde Township highlighted
                                                                  in Allegan County



                                      Kent




                                                                                                        ¹
               Ottawa                                            Ionia                     Clinton




                                                  Barry                         Eaton               Ingham
                     Allegan




             Van Buren              Kalamazoo                         Calhoun                   Jackson




Berrien


                Cass                 St. Joseph                      Branch
                                                                                            Hillsdale




                                                          0    4.5     9        18         27           36
                                                                                                          Miles
          Case 1:11-cv-01938-RJL-BMK-CKK Document 7-1 Filed 12/02/11 PageRevised
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                                                88th State House District
                                                2001 Redistricting Plan
                                                          Clyde Township highlighted
                                Ottawa
                                                              in Allegan County
                                                                          Kent




                                                                                                ¹

                                                                                              Barry
                                            Allegan




                          Van Buren                                       Kalamazoo




Berrien                                                 0 1.5 3      6      9       12
                                                                                      Miles
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                                                80th State House District
                                                2011 Redistricting Plan
                                                          Clyde Township highlighted
                                Ottawa
                                                              in Allegan County
                                                                          Kent




                                                                                                ¹

                                                                                              Barry
                                            Allegan




                          Van Buren                                       Kalamazoo




Berrien                                                 0 1.5 3      6      9       12
                                                                                      Miles
                          Case 1:11-cv-01938-RJL-BMK-CKK Document 7-1 Filed 12/02/11 PageRevised
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               2001 Redistricting Plan
